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                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                     AUGUSTA DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    ) CR 115-104
                                             )
JAMES H. ANDERSON, JR.                       )
                                        _________

                                        ORDER
                                        _________

       Defendant filed a motion requesting that the Court hold a hearing pursuant to Jackson

v. Denno, 378 U.S. 368 (1964) and 18 U.S.C. § 3501 “on the question of the voluntariness of

any statement Mr. Anderson may have made to any law enforcement officer during the

investigation of this case.” (Doc. no. 42.) In contravention of Local Criminal Rule 12.1,

there are no citations to record evidence or an affidavit from Defendant offered in support of

this one-paragraph motion, and there is no supporting memorandum of law citing supporting

authorities. (See id.) The Court will provide Defendant until January 25, 2016, to file a

particularized motion that, in compliance with Local Criminal Rule 12.1, supports every

factual assertion with a cite to the existing record, an affidavit, or other evidence and

includes a supporting memorandum of law. The burden is upon Defendant to allege facts

that would, if proven true, entitle him to relief. United States v. Lewis, 40 F.3d 1325, 1332

(1st Cir. 1994). Failure to cure the defects with the pending motion will result in the Court

treating that motion as a nullity.

       Defendant also filed a motion to adopt the motions of his co-defendant. The Court

GRANTS this motion. (Doc. no. 43.) Defense counsel is instructed to file written notice
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with the Court of the specific motions that Defendant intends to adopt. Such written notice

must be filed not later than January 25, 2016. If any of the motions adopted require

evidentiary support and/or a supporting memorandum particularized to the circumstances of

Defendant, that supporting documentation must be filed along with the written notice of

adoption. Counsel is specifically directed to Local Criminal Rule 12.1.

       SO ORDERED this 19th day of January, 2016, at Augusta, Georgia.




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